I"'                                                                   FILED IN OPEN COURT
                                                                      ON_J \- ' - \ ') 8_<2,\_{.
                                                                        Peter A. Moore, Jr., Clerk
                                                                        US District Court
                             UNITED STATES DISTRICT COURT               EsstemDlstrlctofNC
                      FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                   WESTERN DIVISION
                                   No.5(/8-Cf!,-OO~ 52-FL {3)
      UNITED STATES OF AMERICA

                          v.                               INDICTMENT

      LEONID ISAAKOVICH TEYF,
      TATYANA ANATOLYEVNA TEYF,
           a/k/a TATIANA TEYF,
      ALEXEY VLADIMIROVICH TIMOFEEV,

      The Grand Jury charges:

                                           INTRODUCTION

            1.      LEONID     ISAAKOVICH TEYF       ( "TEYF")   was born in Belarus,

      which at the time was a Slavic Republic within the former Soviet

      Union.      Prior to coming to the United States in 2010, he had been

      a resident of Russia.         While in Russia, TEYF served as President

      of   Fishing     Group     (FG)   Delta       Plus   (hereinafter     "FGDP")        for

      approximately five (5) years.         Since arriving in the United States,

      TEYF has been the President of Delta Plus, LLC (hereinafter "Delta

      Plus") ,    the United States based subsidiary of FGDP.                  TEYF is a

      ·current legal resident of the United States.

            2.      TATYANA ANATOLYEVNA TEYF           (also known as Tatiana Teyf)

      ("TATYANA") , is the spouse of LEONID ISAAKOVICH TEYF.                      She is a

      citizen of Russia and currently a                resident   legal ·alien of the

      United States.

            3.      ALEXEY VLADIMIROVICH TIMOFEEV ("TIMOFEEV")is a Russian

      citizen.       He has been in the United States since approximately

                                                1
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October 28, 2014.             TIMOFEEV entered the United States pursuant to

a B-2 Visa,         and currently holds an F-2 visa,                derivative to his

spouse's F-1 student visa.

        4.      FGDP     is    a    multinational     company       headquartered   in

Volodarskiy,·Russia, and was organized on or about April 8, 2002.

It reportedly has over fifteen hundred (1,500)                      employees, eighty

(80) fishing vessels, and annual revenue in excess of $14 Million·

(USD)    and is one of the             largest    fisheries .and fish processing

plants in the Volga region of Russia.

        s~      Delta Plus is a Limited Liability Company organized in

the State of North Carolina for the stated primary. purpose of

operating an urgent care clinic; and is an 80% owned subsidiary of

FGDP.

        6.      CTK Transportation Incorpoiated (hereinafter "CTK") was

incorporated in the State of Illinois,                 on or about December 27,

2012. According to corporate registration documents, TIMOFEEV is

the registered agent of CTK and TEYF is the President of CTK.

        7.      While    Anatoli       Serdyokov     was     Russia's    Minister   of

Defense,       Serdyokov granted the company,              VOENTORG,    a contract to

provide       the   Russian        military   with   goods    and    services   (e.g.,

laundry,       food,    and equipment).       Voentorg,      in turn, subcontracted

with various other companies to provide these goods and service.

        8.      As relevant to this indictment, between 2010 and 2012,

exact dates unknown,               TEYF was Deputy Director of Voentorg.            As

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.


    such,         TEYF   arranged   for   subcontractors        in Russia      to    fill   the

    various goods and services required of Voentorg's contract with

    the Russian Ministry of Defense.                    TEYF and others devised a scheme

    and artifice that prior to granting a subcontractor the work for

    Voentorg, the subcontractor had to agree that a certain percentage

    of the government funds which it would receive for completion of

    the work would be paid back to TEYF and others involved in that

    scheme and artifice.             These kickbacks of government funds were

    paid     in     cash   and   amounted      to    more   than    $150, 000, 000   over   an

    approximate two-year span.              TEYF and others then directed some of

    the monies be paid to others involved in the scheme, and some of

    the monies were placed in various accounts over which TEYF had

    control.         Some of the monies belonging to TEYF were transferred to

    accounts outside of Russia, and ultimately into accounts located

    in the United States.

             9.      Since at least December 2010, TEYF, TATYANA., and others

    known and unknown to the grand jury hav·e opened at least seventy

    ( 7 0)    financial      accounts     at        approximately     four    ( 4)   domestic

    financial institutions, in the names of themselves and businesses

    under their control.            TEYF and others received at ieast 294 wires

    for an approximate total of $39,500,000                     into four      (4)   accounts

    held in TEYF's riame and the names of co-conspirators at Bank of

    America, N.A ("BOA")             Foreign corporations and bank accounts in

    countries commonly known to be used for money laundering are the

                                                    3
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source of 293 of the wires that total approximately $39,415,000.

     10.     Account XXXX XXXX 3905 ("BOA 3905") was opened on a date

unknown at Bank of America,            N.A.        Between January 18,           2011 and

March 2,     2013,      BOA 3905 received $14,676,107 in wire transfers

from accounts in Belize,          the British Virgin Islands,                  Hong Kong,

Panama,    and Seychelles.        Of the accounts from which these funds

originated, over $13,000,000 came from Cyprus, and the remainder

from Hong Kong.          TEYF is currently a signatory on this account.

     11.     On   September     18,    2012,       TEYF       opened   demand     deposit

account number XXXX XXXX           9409,        (a/k/a LT Revocable Trust              "BOA

9409")    at Bank of America,         N .A.     in which TEYF and TATYANA. were

listed as individual owners and were the only authorized signers

on the account.         This account received $4,106,952 in wire transfers

between January 2011 and December 2013,                        the majority of which

originated in Cyprus.

     12.     On a date unknown, account XXXX XXXX 6014                       ("BOA 6014")

was opened at Bank of America,                 N .A.        As of February 11,        2015,

TATYANA was       the    authorized    signer          on   the   account.      BOA    6014

received a total of $17,924,909 in wire transfers, over $15,000,000

originating. in Cyprus, and approximately $2,000,000 in Hong Kong.

     13.    .In October 2012,         account XXX XXXX 1736 was opened by

TEYF and TATYANA in the name "New Market Way LLC."                           This account

received $1,200,000 in transfers from BOA 6014.



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       14.   on a date unknown, account         xxxx·xxxx   3285   ("BOA 3285")

 was opened at Bank of America, N.A.            Statements from January 2011

 reflect the names of both TEYF and TATYANA; as of June 23, 2015,

 TEYF relinquished all interest in the account and TATYANA remained

 the sole signatory.      Forty-four transfers were made from BOA 3905

 into BOA 3285 for approximately $2,972,000.

       15.   On a date unknown, account XXXX XXXX 1991             ("BOA 1991")

was opened at Bank of America,          N .A.     Statements from June 2011

 reflect the names of both TEYF and TATYANA on the account; in June

 2015, TATYANA relinquished all interest in the account and TEYF

became the sole signatory.        Between August 11, 2011 and March 23,

 2012, TEYF made thirteen transfers from BOA 3905 to BOA 1991 for

 a total of $10,807,000.

       16.   On June 22, 2016, TATYANA opened demand savings account

number XXXX XXXX 9_748       ("BOA 9748")       at Bank of America,      N .A.    in

which TATYANA was listed as sole owner and as the only authorized

 signer on the account.     On the same day, $9,000,000 was transferred

 from BOA 6014 to BOA 9748.

                                  COUNT ONE

       17.   The grand jury realleges and incorporates by reference

· herein all of    the   all~tions     contained in paragraphs one               ( 1)
   '           \~6            -~-r~                .
through      ~i~               the Introduction to the Indictment, and

further alleges that:




                                       5
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           18.    Beginning on a date no later than on or about March 2,

2011, and continuing through the present,                      in the Eastern District

of North Carolina and elsewhere, the defendants, LEONID ISAAKOVICH

TEYF   I    TATYANA ANATOLYEVNA TEYF (also known as TATIANA 'J:'.EYF)              I    ALEXEY

VLADIMIROVICH TIMOFEEV, and others known and unknown to. the Grand

Jury, knowingly combined, conspired and agreed among themselves to

commit offenses against the United States in violation of Title

18, United States Code, Section 195 7, to wit: by knowingly engaging

and attempting to engage in monetary transactions by,                            through or

to   a      financial     institution,     affecting          interstate     and       foreign

commerce, in criminally derived property of a value greater than

$10,000,          such   property    having       been    derived     from   a    specified

unlawful          activity,   that   is,   theft         of   funds   belonging        to   the

government of Russia in the form of kickbacks,                         a crime in that

country,          in violation of Title 18,          United States Code,               Section

1957.

           19.    All in violation of Title 18, United States Code, Section

1956 (h) .

                              COUNTS TWO THROUGH TWENTY-SIX

           20.    The grand jury realleges and incorporates by reference

herein all          of~-the~y~gatio~~· taine.d in paragraphs one                            ( 1 )'
                   4-tx      11:? -r7 t....i ~
through          e~st         ·   f the    ntroduction to the Indictment, and

further alleges that:




                                              6
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      21.      On or about the dates set forth below,          in the Eastern

District of North Carolina and elsewhere, the defendants, LEONID

ISAAKOVICH TEYF, TATYANA ANATOLYEVNA TEYF (also known as TATIANA

TEYF),    ALEXEY VLADIMIROVICH TIMOFEEV,          aiding and abetting each

other, did knowingly engage and attempt to engage in the following

monetary transactions by.through or to a financial institution,

affecting interstate or foreign             ~ommerce,   in criminally derived

property of .a value greater than $10,000,              that is the deposit,

withdrawal,      transfer,   and exchange of U.S.       currency,   funds,   and

monetary instruments,        such property having been derived from a

specified unlawful activity,          that is,    illegal kickback of funds

belonging to the government of Russia.



COUNT        DEFENDANT(S)         ON OR ABOUT DATE      MONETARY TRANSACTION
        LEONID ISAAKOVICH
                                                        Transfer of $260,000
        TEYF, TATYANA
                                                        from Bank of America
        :ANATOLYEVNA TEYF
  2      (also known as            August 11, 2017
                                                        !Account    xxxx xxxx
                                                        1736     to   Bank  of
        Tatiana Teyf), and
                                                        !America Account xxx:x
        IALEXEY TIMOFEEV
                                                        lxxxx 4884
                                                     Check #1075 written
                                                     on Bank of America
                                                     !Account   xxxx xxx:x
         LEONID ISAAKOVICH                           1736 in the amount of
  3                               November 2 9, 2016
         TEYF                                        $21,857.13         and
                                                     deposited in Bank of
                                                     !America A.ccount xxx:x
                                                     xxxx 4981




                                        7
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COUNT       DEFENDANT(S)        ON OR ABOUT DATE   MONETARY TRANSACTION
                                                  Check #1074 written
                                                  on Bank of America
                                                  ~ccount    XXXX  XXXX
                                                  1736 in the amount of
        LEONID ISAAKOVICH
  4                             November 29, 2016 $50,QOO.OO         and
        TEYF                                      deposited in Bank of
                                                  ~merica Account  XXXX
                                                  DcXXX 4981




                                                     Transfer             of
        LEONID ISAAKOVICH
                                                     $2, 000, 000 from Bank
        TEYF and TATYANA
  5                              January 26, 2015    of   America    Account
        :ANATOLYEVNA TEYF
                                                     XXXX XXXX 1991 to Bank
         (also known as
                                                     of   America    Account
        Tatiana Teyf)
                                                     xxxx xxxx   6014

                                                     Transfer of
                                                     $5,035,006.69
      .LEONID ISAAKOVICH                             From Bank of America
  6                             February 14, 2018
       TEYF                                         ~ccount      XXXX      XXX]
                                                     1991 to Account xxx:x
                                                     DcXXX 3812 at First
                                                     Citizen's Bank
                                                     Transfer of
                                                     $5,035,000.00        frorr
        LEONID ISAAKOVICH       February 14, 2018 Bank    of            America
  7
        TEYF                                      Account    XXXX   XXXX
                                                  1991 to Account XXX:X
                                                  XXXX 1502 at BB&T

                                                     Transfer of
                                                  $5,035,000.00     f rorr
        LEONID. ISAAKOVICH
  8                             February 14, 2018 Bank     of     America
        TEYF
                                                  !Account    xxxx xxxx
                                                  1991 to Account xxxx
                                                  xxxx 4726 at PNC bank
                                                     Payment of real
        LEONID ISAAKOVICH
                                                     estate taxes in the
        TEYF, TATYANA
                                                     amount of $50;662.33
  9     iANATOLYEVNA TEYF        October 12, 2016
                                                     from Bank of America
         (also known as
        Tatiana Teyf)
                                                    ~ccount   xxxx xxxx
                                                     3285
                                                     ..


                                      8
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COUNT       DEFENDANT(S)        ON OR ABOUT DATE      MONETARY TRANSACTION
                                                     Transfer of $200,000
                                                     from Bank of America
        TATYANA ANATOLYEVNA                          !Account xxxx xxxx
 10     TEYF (also known as      January 20, 2015    3844 to Bank of
        Tatiana Teyf)                                !America Account xx xx
                                                     xxxx 6014


        LEONID ISAAKOVICH                             Purchase of a counter
        TEYF and TATYANA.                            check in the amount of
        IANATOLYEVNA TEYF                             $1,087,'804.34  using
 11                               April 23, 2018
         (also known as                               funds   from Bank of
        Tatiana Teyf)                                !America Account xx xx
                                                     lxXXX 3905
                                                     Transfer of $30,000
        LEONID ISAAKOVICH
                                                      from Bank of America
        TEYF and ALEXEY
                                                     Account xxxx xxxx
 12     IVLADIMIROVICH             May 10, 2018
                                                     3905 to Bank of
        TIMOFEEV
                                                     America Account xx xx
                                                     xxxx 1314

        LEONID ISAAKOVICH                           Transfer of $100,000
        TEYF and TATYANA.                            from Bank of America
        ANATOLYEVNA TEYF                            !Account    xx xx   xx xx
 13                              February 3, 2016
        (also known as                               6014    to    Bank    of
        Tatiana Teyf)                               !America Account xx xx
                                                    lxxxx 1736
                                                    Transfer of $25,000
                                                     from Bank of America
        TATYANA ANATOLYEVNP
                                                    !Account xxxx xxxx.
 14     TEYF (also known as      November 2, 2017
                                                    6014 to Bank of
        Tatiana Teyf)
                                                    !America Account XXXX
                                                  . xxxx 7892
                                                    Transf.er of $300,000
                                                    from Bank of America
        TATYANA ANATOLYEVNA
                                                    !Account    xx xx   xx xx
 15     TEYF (also known as       June 14, 2016
                                                    6014 to~ Bank of
        Tatiana Teyf)
                                                    !America Account XXXX
                                                    lxxxx 3844
        TATYANA ANATOLYEVNA
                                                     Transfer of $40,000
        TEYF (also known as
                                                      from Bank of America
        Tatiana Teyf) and
                                                    .!Account    xx xx   xx xx
 16     )ALEXEY                  August 30, 2016
                                                      6014    to    Bank    of
        IVLADIMIROVICH
                                                     !America Account xx xx
        TIMOFEEV
                                                     lxXXX 1563

                                      9
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COUNT       DEFENDANT{S)        ON OR ABOUT DATE      MONETARY TRANSACTION
        LEONID ISA.f...KOVICH                       Transfer of $450, 000
        TEYF and TATYANA                             from Bank of America
        ~ATOLYEVNA TEYF                             ~ccount     XXXX   XXXX
 17                              February 12, 2015 6014      to   Bank   of
        (also known as
        Tatiana Teyf)                               !America Account XXXX
                                                    IXXXX 1736
        LEONID ISAAKOVICH                           Transfer of $700, 000
        TEYF and TATYANA                             from Bank of America
        IANATOLYEVNA TEYF                           !Account    XXXX   XXXX
 18                              November 6, 2015
         (also known as                              6014    to   Bank   of
        Tatiana Teyf)                               !America Account XXXX
                                                    /XXXX 1736
                                                    Transfer of
        LEONID ISAAKOVICH
                                                     $9,000,000 from Bank
        TEYF and TATYANA
                                                    of America Account
        ANATOLYEVNA TEYF
 19                                 May 29, 2014    IXXXX XXXX 6014 to
        (also known as                              Bank of America
        Tatiana Teyf)
                                                    !Account XXXX XXXX
                                                     1991
                                                    Transfer of
                                                     $9,000,000from Bank
                                                    of America Account
        TATYANA ANATOLYEVNA                       '
                                                    IXXXX XXXX 6014 to
 20     TEYF (also known as        June 22, 2016
                                                    Bank of America
        Tatiana Teyf)
                                                    !Account XXXX XXXX .
                                                     9748


         LEONID ISAAKOVICH
                                                   Transfer of $132,000
        TEYF, TATYANA
                                                    from Bank of America
        IANATOLYEVNA TEYF
                                                   !Account XXXX XXXX
         (also known as
 21                              February 19, 2015 9409 to Wells Fargo
        Tatiana Teyf), and
                                                   Bank Account XXXX
        IALEXEY
                                                   IXXXX 1952
        IVLADIMIROVICH
        TIMOFEEV
         LEONID ISAAKOVICH
        TEYF, TATYANA
                                                     Transfer of $19,000
        ANATOLYEVNA TEYF
                                                     from Bank of America
         (also known as
                                                     !Account XXXX XXXX
 22     Tatiana Teyf) · and      November 4, 2014
                                                     9409 to PNC Bank
        IALEXEY
                                                     [Account XXXX XXXX
        IVLADIMIROVICH
                                                     5564
        TIMOFEEV



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COUNT        DEFENDANT(S)          ON OR ABOUT DATE      MONETARY TRANSACTION
         LEONID ISAAKOVICH
        TEYF, TATYANA
                                                      Transfer of $30,000
        ANATOLYEVNA TEYF
                                                      from Bank of America
         (also known as
                                                      ~ccount XXXX XXXX
  23    Tatiana Teyf) and          September 25, 2014
                                                      9409 to PNC Bank
        IALEXEY
                                                      ~ccount XXXX XXXX
        lvLADIMIROVI:CH
                                                      5564
        TIMOFEEV

                                                      Transfer of $50,000
         LEONID ISAAKOVICH
                                                       from Bank of America
        TEYF and TATYANA
                                                      Account XXXX XXXX
  24    iANATOLYEVNA TEYF           September 2, 2014
                                                       9409 to Bank of
         (also known as
                                                      ~merica Account XXXX
        Tatiana .Teyf)
                                                      IXXXX 0990

                                                        Transfer of
                                                         $1,000,000 from Barik
                                                        of America Account
        TATYANA ANATOLYEVNA
                                                        IXXXX XXXX 9748 to
  25    TEYF (also known as          April 4, 2018
                                                         First Citizen's Bank
        Tatiana Teyf)
                                                        ~ccount XXXX XXXX
                                                        3951

                                                        Transfer of $50,000
                                                        from Bank of America
                                                        ~ccount XXXX XXXX
        TATYANA ANATOLYEVNA
                                                        9748 to First
  26    TEYF (also known as          April 2, 2018
                                                        Citizen's Bank
        Tatiana Teyf)
                                                        Account XXXX XXXX
                                                        3951




       22.     Each entry in the above table constituting a separate

violation of Title 18, United States Code, Sections 1957 and 2.

                                  COUNT TWENTY-SEVEN

       23.     On or about May 23,       2018,   in the Eastern District of

North· Carolina,        the   defendant,      LEONID   ISAAKOVICH   TEYF,    did,

directly and indirectly, corruptly give, offer, and promise a thing


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of value to a public official,                      with intent to induce a public

official to do an act and omit to do an act in violation of his

official duty,         that is,· by giving · $10, 000 to an employee of the

United        States   Department     of       Homeland     Security    to    cause   an

individual to be deported from the United States, in violation of·

Title 18, United States Code, Section 201(b) (1)

                                COUNT TWENTY-EIGHT

        24.     On or about June 20,           2018,    in the Eastern District of

North Carolina and elsewhere,                  the defendant,    LEONID      ISAAKOVICH

TEYF,    did knowingly use or cause another to use a                      facility of

interstate commerce,          to wit,      a    cellular telephone,       with intent

that the murder of A.G. be committed in violation of the laws of

North Carolina as consideration for an agreement to pay things of

pecuniary value, to wit: a sum of U.S. currency.

        25.     All in violation of Title 18, United States Code, Section

1958.

                                 COUNT TWENTY NINE

        26.     On or about June 20,           2018,    in the Eastern District of

North .Carolina, the defendant, LEONID ISAAKOVICH TEYF, aiding and

abetting others known and unknown to the grand jury,                         knowingly

possessed a         firearm   that   had been          shipped and     transported    in

interstate commerce from which the manufacturer's serial number

had been removed, altered and obliterated,                   in violation of Title

18, United States Code, Sections 922 (k), 924 (a) (1) (B) and 2.

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                                  FORFEITURE NOTICE

         Each     named    defendant     is     given    notice    that   all   of     the

    defendant's interest in all property specified herein is subject

    to forfeiture.

         Upon conviction Of one or more of the offense(s) set forth in

    Count(s)    One through Twenty-Six,             the defendant shall forfeit to·

    the United States, pursuant to Title 18 United States Code, Section

    982(a) (1),    any    property,     real    or    personal,    involved     in    such

    offense(s), or any property traceable to such property.

         Upon conviction of one or more of the offense(s) set forth irt

    Count(s)      Twenty-Seven    and    Twenty-Eight,       the    defendant        shall

    forfeit to the United States, pursuant to Title 18, United States

    Code, Section 981(a) (1) (C), as made applicable by Title 28, United

    States Code, Section 2461 (c), any property, real or personal, which

    constitutes or is derived from proceeds                 traceable     to the      said

    violation(s).

         Upon conviction of the offense(s) set forth in Count Twenty-

    Nine, the defendant shall forfeit to the United States, pursuant

    to Title 18, United States Code, Section 924(d), as made applicable

    by Title 28,      United States Code,            Section 2461(c),     any and all

    firearms or ammunition involved in or used in a knowing commission

    of the said offense(s).




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     Th~     forfeitable property includes, but is not limited to, the

following:

     (a)       Real property having the physical address of 6510 New

               Market    Way,    Raleigh,        North   Carolina,      including     all

               appurtenances and improvements thereto,                  being legally

               described in deed book 017100 page 01227 of the Wake

               County    Registry,.   North        Carolina;      and   any    and    all

               proceeds from the sale of said property.

     (b)       Real   property     having        the   physical    address     of    7900

              Hardwick Drive, Raleigh, North Carolina,                  including all

               appurtenances and improvements thereto,                  being legally

               described in deed book 017105 page 00839 of the Wake

               County    Registry,    North        Carolina;      and   any    and   all

              proceeds    f~om   the sale of said        pro~erty.

     (c)      A Ruger P94 .40 caliber pistol with obliterated serial

              number, marked "Sturm, Ruger & Co. Inc. Southport, CONN,

              U.S.A.";

     (d)      All funds held in Bank of America Account No.                   xxxx xxxx
              3905;

     ( e)     All funds held in Bank of America Account No.                   xxxx xxxx
              6014;

     (f)      All funds.held in Bank of America Account No. XXXX XXXX

              3844;

     (g)      All funds held in Bank of America Account No.                   xxxx xxxx
                                            14
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         9409;

(h)      All funds held in Bank of America Account No. XXXX XXXX

         1314;

(i)      All funds held in Bank of America Account No. XXXX XXXX

         1991;

(j)      All funds.held in Bank of America Account No. XXXX XXXX

         1736;

(k)      All funds held in Bank of America Account No. XXXX XXXX

         9748;

(1)     All funds held in Bank of America Account No. XXXX XXXX

         3285;

(m)     All funds held in Bank of America Account No. XXXX XXXX

         0990;

(n)     All funds held in Bank of America Account XXXX XXXX 4981;

(o)     All funds held in Branch Bank and Trust Account No. XXXX

        xxxx     1502;

(p)     All funds held in First Citizen's Bank Account No. XXXX

        xxxx     3812;

(q)     All funds held in First Citizen's Bank Account           No~   XXXX

        xxxx     3951;

(r)     All funds held in PNC Bank Account No. XXXX XXXX 4726;

(s)     All funds held in PNC Bank Account No. XXXX XXXX 5564;

(t)     All funds held in Wells Fargo Bank Accciunt No. XXXX XXXX

        1952.

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                                                       j
  If any of the above-described forfeitable property, as a result

of any act or omission of a defendant --

   (1)    cannot be located upori the exercise of due diligence;

   (2)    has been transferred or sold.to, or deposited with, a third

          party;

  {3)     has been placed beyond the jurisdiction of. the couitj

  (4)     has been substantially dimin{shed in value; or

   ( 5)   has been commingled with other property which cannot b~.

          divided without difficulty;

it is the intent of the United States, .pursuant to Title 21, United

 States Code,      Section 853 (p),    to seek forfeiture      of   any other

property of said defendant up to the value of the forfeitable

property described     ~bove.




                                      FOREPERSON


                                    Date:    _L NOV         'i-o I ?!

ROBERT J. HIGDON, JR.
United States Attorney


      M.
Assistant United States Attorney



BARBARA D. KOCHER
Assistant United States Attorney

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